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    UNITED STATES DISTRICT COURT
1   WESTERN DISTRICT OF NEW YORK
2   ------------------------------------------------------------------X
    DOUGLAS J. HORN and CINDY HARP-HORN,
3                                                                         Civ Action No: 15-cv-701 FPG/MJR
                                       Plaintiff,
4                                                                         DECLARATION of
             -against-                                                    JEFFREY BENJAMIN, ESQ.
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6
    MEDICAL MARIJUANA, INC.,
7   DIXIE ELIXIRS AND EDIBLES,
    RED DICE HOLDINGS, LLC, and
8   DIXIE BOTANICALS,
9                                       Defendants,
    ------------------------------------------------------------------X
0
       DECLARATION OF JEFFREY BENJAMIN IN OPPOSITION TO DEFENDANTS’
1           MEDICAL MARIJUANA, INC. and RED DICE HOLDINGS, LLC.’s
                     MOTION FOR SUMMARY JUDGMENT
2
3            I, Jeffrey Benjamin, Esq., declare under penalty of perjury, as provided for by the laws of

4   the United States, that the following statements are true:

5       1.   I am an attorney and counselor at law, duly admitted to practice before the Courts of the

6            State of New York and this Court, and counsel for Plaintiffs. As such, I am fully familiar

7            with the facts stated and Exhibits submitted in opposition to Defendants’ MEDICAL

8            MARIJUANA, INC. and RED DICE HOLDINGS, LLC.’s (“MMI/RDH”) Motion for

9            Summary Judgment.

0   I. MMI/RDH’s Public Filings

1       2.   Attached hereto as Exhibit “A” is a copy of the Operating Agreement for RED DICE

2            HOLDINGS, LLC. and its two owners MEDICAL MARIJUANA, INC. and DIXIE

3            HOLDINGS, LLC. a/k/a DIXIE ELIXIRS .

4       3.   Attached hereto as Exhibit “B” is a copy of the Complaint entitled DIXIE HOLDINGS,

5            LLC derivatively on behalf of RED DICE HOLDINGS, LLC v MEDICAL MARIJUANA,

6            INC. in the Superior Court of California Case No: 37-2013-58302.

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1      4.   Attached hereto as Exhibit “C” is a copy of the June 30, 2012 filing with the SEC
2           pursuant to Rule 15c2-(11)(a)(5) by Defendant MEDICAL MARIJUANA, INC.
3   II. Plaintiffs’ Affidavits
4      1. Attached immediately hereto is Plaintiffs’ initial Affidavit in Opposition.
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       2. Attached immediately hereto is Plaintiffs’ Supplemental Affidavit in Opposition.
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       3. Attached immediately hereto is the Affidavit of Ellen Voie along with its Exhibit “i.”
7
       4. Attached hereto as Exhibit “1” is a copy of the “High Times” magazine advertisement
8
9      (Page 42) Plaintiffs’ obtained and read.

0      5. Attached hereto as Exhibit “2” is a copy of the Defendant Dixie’s Frequently Asked
1      Questions (“FAQs”) that existed in September, 2012.
2
       6. Attached hereto as Exhibit “3” is a copy of Defendant Dixie’s Frequently Asked
3
       Questions (“FAQs”) that existed in or before April, 2015. Stating:
4
5           “Does Cannibidiol (CBD) and other natural hemp based constituents show up on a
6           drug test?” (bold in the original).
7                  “Most workplace drug screens and tests target delta9-tetrahydrocannabinol
8           (THC) and do not detect the presence of Cannabidiol (CBD) or other legal
            natural hemp based constituents. However, studies have shown that eating hemp
9           foods and oils can cause confirmed positive results when screening urine and
            blood specimens. Accordingly, if you are subject to any form of drug testing, we
0           recommend (as does the United States Military) that you DO-NOT ingest our
            products, and consult with your healthcare, drug screening/testing company or
1
            employer.” Emphasis added.
2
       9. Attached hereto as Exhibit “4” is a copy of Defendants’ Invoice and Packing Slip for
3
       Plaintiffs’ September 17, 2012 purchase of the Dixie X Elixir Tincture product at issue.
4
5      10. Attached hereto as Exhibit “5” is a copy of the report of Plaintiff Douglas Horn’s drug

6      screening on October 9, 2012 showing a positive result for THC.

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    11. Attached hereto as Exhibit “6” are copies of the EMSL labs invoice, analysis and
1
2   confirmation of the THC content in Defendants’ Tincture product, and Chain of Custody

3   document.

4   12. Attached hereto as Exhibit “7” is a copy of the e-mail chain from the EMSL lab’s
5
    National Director Scott Van Etten denying Plaintiff the return of the sample due to THC
6
    content.
7
    13. Attached hereto as Exhibit “8” are copies of the Certificates of Analysis produced by
8
9   Defendants’ in discovery confirming their representative sample product tested contained

0   .05% and .04% THC respectively.

1   14. Attached hereto as Exhibit “9” are copies of the label on Defendants’ tincture product
2   that Plaintiff took and that which was tested, showing the absence of any reference to THC or
3
    Controlled Substances.
4
    15. Attached hereto as Exhibit “10” is a copy of Dixie Elixirs and Edibles’ (the “THC-
5
    infused products company”) May 2, 2012 press release announcing their launch of the Dew
6
7   Drops tincture product at issue, and their breaking new ground in the category of non-THC-

8   infused products.
9   16. Attached hereto as Exhibit “11” is a copy of the Facebook post of Tamar Wise, former
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    Chief Scientist at Defendant Medical Marijuana and Dixie Elixirs denouncing Defendants’
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    products, stating “unfit for human consumption” and accusing Defendants a acting “criminal
2
    and dangerous.”
3
4   17. Attached hereto as Exhibit “12” are the relevant portions of Defendants’ Botanist expert

5   Dr. Cindy Orser’s deposition transcript, who testified on December 12, 2017.
6   18. Attached hereto as Exhibit “13” is a copy of Plaintiffs’ expert economist Dr. Mark
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           Zaporowski’s Curriculum Vitae.
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2          19. Attached hereto as Exhibit “14” is a copy Dr. Zaporowski’s expert economist’s Report

3          calculating Plaintiffs’ damages.

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    III.      Affidavit and Reports of Dr. Kenneth D. Graham, Ph.D., R.Ph.
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6          20. Also attached immediately hereto is the Affidavit of Plaintiffs’ Forensic Toxicologist
7
           and Pharmacologist Kenneth D. Graham.
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           21. Attached to Dr. Graham’s Affidavit as Exhibit “I” is a copy of his Curriculum Vitae.
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           22. Attached to Dr. Graham’s Affidavit as Exhibit “II” is a copy of Dr. Graham’s expert
0
1          report of August 29, 2017 in which he describes the liability of Defendants in the law.

2          23. Attached to Dr. Graham’s Affidavit as Exhibit “III” is a copy of his October 30, 2017

3          Supplemental (Rebuttal) Report to Defendants’ expert report.
4
    Dated: New York, New York                               KUPILLAS, UNGER & BENJAMIN, LLP
5
              November 14, 2018                             Jeffrey Benjamin
6
                                                            Jeffrey Benjamin, Esq.,
7                                                           Attorney for Plaintiffs
                                                            5 Penn Plaza, 23rd Floor
8                                                           New York, New York 10001
                                                            (212) 655-9536
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